                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF KENTUCKY
                                      ASHLAND DIVISION

MICHAEL KITCHEN,                                         )
                                                         )
                            Plaintiff,                   )
                                                         )
v.                                                       )
                                                         )   CIVIL ACTION NO.
MIDLAND FUNDING, LLC,                                    )   0:14-cv-00105-HRW
                                                         )
                            Defendant.                   )
                                                         )


                          AMENDED AGREED ORDER DISMISSING CASE

              It appearing to the court, as evidenced by the signatures of counsel for the Plaintiff

Michael Kitchen ("Plaintiff'') and Defendant Midland Funding, LLC ("Midland") that the parties

have resolved Plaintiff's claims against Midland and the claims against Midland should be

dismissed, with each party to bear its own costs and fees.

              IT IS THEREFORE ORDERED, that all of Plaintiff's individual causes of action

against Midland in this action are DISMISSED WITH PREJUDICE, with each party to bear

its own costs and fees. IT IS FURTHER ORDERED that all of Plaintiff's class action claims

asserted against Midland in this action are DISMISSED WITHOUT PREJUDICE, with each

party to bear its own costs and fees.

               This 17th day of March, 2015.
                                                                   Signed By:
                                                                   Henry R. Wilhoit. Jr.
                                                                   United States District .Judge




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APPROVED BY:

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